THE FOLLOWING ORDER
IS APPROVED AND ENTERED
AS THE ORDER OF THIS COURT:

DATED: November 6, 2017
                                          Brett H. Ludwig
                                          United States Bankruptcy Judge


                   UNÏTED STATES BANKRUPTCY COURT
              EASTERN DTSTRICT OF WTSCONSIN (MILWAUKEE)

ïn   Re:   Gonzalo Arellano Espinoza
           aka Gonzalo Arellano
                                                     Case No   17 -28484   -bhl
                                                     Chapter   13
                               Debt.or
      ORDER ON MOTION FOR REÍ,IEF FROM STAY AIiIÐ CO.DEBTOR STAY
                               and   ABAIiTDONMENT


      Debt,or filed a Petition for Relief under l-1 U.S.C. Chapter
1-3 on August 29, 2017 .
      Mit,chell Bank (hereinafter "Creditor") is a secured creditor
and a party in interest hereín, by virt.ue of a Note and Mortgâge,
which mortgage encumbers real property located at 720 Sout,h 90th
Street, West A11is, Wisconsin 5321-4 (tne "Property." )
      Credj-t.or filed a Mot.ion for Relief from Automatic Stay and
Co-Debtor Stay and Abandonment, and the Motion was heard on
October 31 , 201-7 , by the Honorabl-e Bret,t H . Ludwig, U. S .
Bankruptcy ,Iudge. The Debtor appeared by his att,orney, Jonathan
Mas, and t,he Creditor appeared by its attorney, Penny G. Gentges,
and the TrusLee appeared by his attorney, Sandra Baner. For t.he
reasons stated on t,he record,
      IT IS ORDERED that the motion is denied, subject to the
following conditions:
      1-. The Debtor shal-I pay to Creditor the September L, 20:-.7
and October t, 20L7 post-petition mortgage payments in the total
sum of ç2,352.82, so that the Creditor receives them on or before
November L4, 20L7. The Debtor must also provide to Creditor proof
that the Property is insured in accordance with the terms of the
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Note and Mortgage, whích proof sha1l be provided on or before
November   t4,   20L7   .

     2.   The Ðebtor has filed a mot.ion seeking approval of a
proposed sale of t,he Property. The sale shall close, and the
Creditor shall be paid in full, ofl or before November 30, 20L7.
      3. In the event the Debtor fails to comply with any term
of this Order, Creditor may apply to the Court. ex parte for
relief from the automat,íc sLay, co-debtor stay and abandonment,
as follows: (1) counsel for the Creditor shall file with the
Court, written confirmaLion of t,he default; (2) counsel for the
Credit,or shall file wit.h the Court a proposed order; and (3)
counsel for the Credit.or shal1 promptly mail to the Debtor a copy
of all ít.ems f iled with the Court.
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